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                                                         USDC SDNY
UNITED STATES DISTRICT COURT                             DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                            ELECTRONICALLY FILED
DAVID FLOYD, et al.,                                     DOC #:
                                                         DATE FILED:
                              Plaintiffs,

               -against-


CITY OF NEW YORK,                                                  08 Civ. 1034 (AT)

                              Defendant.
KELTON DAVIS, et al.,

                              Plaintiffs,

               -against-
                                                                   10 Civ. 699 (AT)

CITY OF NEW YORK,

                              Defendant.
JAENEAN LIGON, et al.,

                              Plaintiffs,

               -against-                                           12 Civ. 2274 (AT)


CITY OF NEW YORK,                                                      ORDER

                        Defendant.
ANALISA TORRES, District Judge:

        On October 11, 2018, this Court entered an order (the “Confidentiality Order”)
designating as confidential all information that is shared between the participants in the remedial
process in these matters. Floyd v. City of New York, 08-cv-1034 (AT), ECF No. 650, at 2-4 (Oct.
11, 2018). Paragraph 8 of the Confidentiality Order requires parties that seek to submit
confidential information to this Court to give the other participants notice of the information at
issue and an opportunity to move this Court for an order requiring that the information be filed
under seal. Id. at 6.

       On March 19, 2021, Plaintiffs notified the Monitor that they intended to file certain
information that is confidential under the Confidentiality Order (the “Confidential Information”).
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On March 24, 2021, pursuant to paragraph 8 of the Confidentiality Order, the Monitor publicly
filed a letter motion requesting an order requiring that the Confidential Information be filed
under seal and remain sealed. Id., ECF No. 819 (Mar. 24, 2021). He contemporaneously filed
under seal a supporting letter further explaining why that order is appropriate, along with
exhibits identifying the Confidential Information for this Court’s review. Id., ECF Nos. 820,
820-1, 820-2, 820-3 (Mar. 24, 2021).

        On March 25, 2021, Plaintiffs filed a motion to compel under seal requesting that (i) the
Court order the Monitor to provide all parties the same access to an unfiled draft document being
prepared by the Monitor’s team, and (ii) requesting that the Monitor be instructed to publish the
unfiled draft document before it is shared with the Court, or show that the sealing of the unfiled
draft document is narrowly tailored to serve a higher value, to comply with the public’s
constitutional and common-law right of access. Ligon v. City of New York, No. 12-cv-2274
(AT), ECF No. 466 (Mar. 25, 2021). That motion referred throughout to the Confidential
Information. Further, on April 8, 2021, Plaintiffs filed a brief under seal opposing the Monitor’s
motion to seal the Confidential Information, arguing that the Court should unseal the
Confidential Information within their motion to compel, as well as within the documents
accompanying the Monitor’s motion to seal, on the ground that the Information’s publication is
required by the right of access. Id., ECF No. 473 (Apr. 8, 2021). On June 1, 2021, the Monitor
filed under seal a consolidated response to Plaintiffs’ March 25 motion to compel and April 8
brief opposing sealing. Floyd, ECF No. 836 (June 1, 2021).

        This Court has considered the arguments regarding access to the Monitor’s draft unfiled
document. Given the Monitor’s representation that no party will have access to the draft
document, this Court has concluded that ordering equal access is not warranted. See Ligon, ECF
No. 429, at 4 (June 12, 2020). This Court has also concluded that given that the draft document
is unfiled, it is not a document to which the public’s right of access applies. See, e.g., United
States v. HSBC Bank USA, N.A., 863 F.3d 125, 139 (2d Cir. 2017); Corrado v. New York State
Unified Ct. Sys., No. cv 20121748 (DLI) (MDG), 2013 WL 12358468, at *1 (E.D.N.Y. Dec. 10,
2013). For these reasons, Plaintiffs’ motion to compel is denied.

         This Court has also considered the arguments regarding the sealing of the Confidential
Information. This Court has concluded that the First Amendment right of access does not attach
to this Information. See United States v. Smith, 985 F. Supp. 2d 506, 517-20 (S.D.N.Y. 2013).
This Court has also conducted an “individualized review” of each and every piece of
Confidential Information under the common-law presumption of access. Brown v. Maxwell, 929
F.3d 41, 51 (2d Cir. 2019). This Court has concluded that there is a risk that disclosing any piece
of that Confidential Information would impair the flow of information between the participants
in the remedial process, consistent with the findings of the Confidentiality Order, and the
“privacy interest” created by that risk outweighs the “presumption of public access.” Id. at 51.




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         Accordingly, it is hereby ORDERED that the Confidential Information in all documents
filed in connection with this dispute shall remain under seal.




       SO ORDERED.

Dated: ___, 2021
       New York, New York



                                                                     ANALISA TORRES
                                                                 United States District Judge




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